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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                          X
 In re:                                   :      Chapter 11
                                          :
 MF GLOBAL HOLDINGS, LTD.; MF             :      Case No. 11-15059 (MG)
 GLOBAL FINANCE USA, INC., et al.,        :      Case No. 11-15058 (MG)
                                          :
                                          :      (Jointly Administered)
                                          :
                              Debtors.    :
____________________________________ X
                                          :
TODD THIELMANN, PIERRE-YVAN               :
DESPAROIS, NATALIA SIVOVA,                :
SANDY GLOVER-BOWLES, ARTON                :
SINA, and SCOTT L. KISCH, Individually, :
and on behalf of All Other Similarly      :
Situated Former Employees,                :
                                          :
                              Plaintiffs, :
                                          :       Adv. Pro. No. 11-02880 (MG)
v.                                        :
                                          :
MF GLOBAL HOLDINGS, LTD, MF               :
GLOBAL HOLDINGS USA, INC., MF             :
GLOBAL FINANCE USA, INC.; et al.,         :
                                          :
                              Defendants. :
                                          X

  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND RELATED RELIEF

 For the reasons in the accompanying brief, Plaintiffs move for class certification under Federal
 Rule of Civil Procedure 23, made applicable by Federal Rule of Bankruptcy Procedure 7023
 requesting the Court appoint undersigned counsel as Class Counsel, appoint Plaintiffs as the
 Class Representatives, approve the form and manner of notice to the class and certify a class
 defined as:

 The persons (i) who worked at or reported to Defendants’ New York and Chicago Facilities and
 were terminated without cause on or about November 11, 2011 or within 30 days of that date, as
 the reasonably foreseeable consequence of the mass layoffs and/or plant closings ordered by
 Defendants on or about November 11, 2011, and who are affected employees, within the
 meaning of 29 U.S.C. § 2101(a)(5) and/or the New York Labor Law § 860 et seq. (the “WARN
 Acts”), and (ii) who have not filed a timely request to opt-out of the class.
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DATED: July 13, 2015
       New York, New York


                                           Respectfully submitted,

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